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SARAH E. ROBERTSON #142439

MAR_K A. DELGADO #215618

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Facsirnile: (510) 451-1527 _ /y
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mdelgado@fablaw.corn R!C d J?q W WEL\!,\,J p

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Attorneys for Defendants 1101111151111 111 shank 151 mansan
CALIFORNIA EMERGENCY

PHYSICIANS MEDICAL GROUP,
MARK ALDERDICE and ROBERT BUSCHO

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UNITED sTATEs DISTRICT coURT ~'=
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DONALD GOLDEN,,M.D., case 110 01 0.. 00 1437 151
Plainaff, NoTICE oF REMovAL oF CIvIL
ACTIoN 'ro THE UNITED sTA'rEs
va DISTRICT coURT
cALIFoRNIA EMERGENCY [28 U.s.c. §§ 1331 and 1441(b)]
PHYSICIANS MEDICAL GROUP,
MEDAMERICA, MARK ALDERDICE, (FEDERAL QUESTION) _ _
RoBERr BUSCHO, and DoEs 1-100,
inclusive,
VOL UME 2 OF 2
Defendants. (EXHIBITS 61-111)

 

 

 

TO THE CLERK OF THE UNITED STATES DIS'I`RIC'I` COURT FOR THE NORTHERN
DISTRICT OF CALIFORNIA:

PLEASE TAKE NOTICE that Defendants California Emergency Physicians Medical
Group ("CEP"), Mark Alderdice ("Alderdice"), Robert Buscho ("Buscho") (collectively
"Defendants") hereby remove to this Court the state court action described beloW. As detailed
herein, all Defendants served with process in the underlying state action seek removal because,
on January 15, 2010, Plaintift` filed a Third Amended Complaint that (for the first time) alleged
a cause of action arising under federal law. This notice and its attachments contain all process,
pleadings and orders served on Defendants, as well as all other documents from the state court

file.

1.
NOTICE OF REMOVAL OF CIVIL ACTION TO THE UN]TED STATES DISTRICT COURT
1/28/10(256|5)#356480.1

 

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1. On May 21, 2008; an action was commenced in the Superior Court of the State
of California in and for the County of Alameda, entitled Donald Golden v. California
Emergency Physicians Medical Group, MedAmerica, Mark Alderdice, Robert Busch , as Case
No. RG08388602. A copy of the summons is attached hereto as Exhibit l. A copy of the civil
case cover sheet is attached hereto as Exhibit 2. A copy of the complaint is attached hereto as
Exhibit 3.

2. On May 22, 2008, the action was assigned to lodge Stephen Dombrink by the
Alameda County Superior Court Clerk. A copy of the Notice of Judicial Assignrnent for All
Purposes is attached hereto as E`.xhibit 4.

3. On May 22, 2008, the initial case management conference with Judge Dombrink
was noticed. A copy of the Notice of case Management Conference and Order is attached
hereto as Exhibit 5.

4. On July 1, 2008, Plaintiff Donald Golden ("Plaintiff") filed a Substitution of
Attorney, a copy of which is attached hereto as Exhibit 6.

5. On July l, 2008, Piaintiff filed the First Amended Cornplaint, a copy of which is
attached hereto as Exhibit 7.

6. On July 18, 2008, Plaintiff filed the Proof of Service of Sunn'nons as to
Defendant Buscho, a copy of which is attached hereto as Exhibit 8.-

71 On July 21, 2008, Plaintiff filed the Proof of Service of Suinmons as to
Defendant CEP, a copy of which is attached hereto as Exhibit 9.

8. On July 21, 2008, Plaintiff filed the Proof of Service of Summons as to
Defendant Alderdice, a copy of which is attached hereto as Exhibit 10.

9. On August 28, 2008, Plaintiff` filed the Proof of Service of his Deposition
Subpoena for Personal Appearance and Production of Documents and Things and Notice of
Deposition of Marcia Shaikin, a copy of which is attached hereto as Exhibit 11.

10. On September 2, 2008, Defendants filed Demurrers to Plaintift`s First Amended
Compliant. A copy of the Notice of Hearing on Demurrer and Demurrer by Defendant

California Emergency Physicians Medical Group to Plaintiff‘s First Amended Complaint is

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NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT
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attached hereto as Exhibit 12. A copy of the Memorandum of Points and Authorities in
Support of Demurrer by Defendant California Emergency Physicians Medical Group is
attached hereto as Exhibit 13. A copy of the [Proposed] Order Granting Defendant California
Ernergency Physicians Medical Group's Demurrer to Plaintiff`s First Amended Complaint is
attached hereto as Exhibit 14. A copy of the Notice of Hearing on Demurrer and Demurrer by
Defendants Mark Alderdice, M.D. and Robert Buscho, M.D. to Plaintiff"s First Arnended
Complaint is attached hereto as Exhibit 15. A copy of the Memorandurn of P'oints and
Authorities in Support of Demurrer by Defendants Mark Alderdice, M.D. and Robert Buscho,
M.D. is attached hereto as Exhibit 16, A copy of the [Proposed] Order.Granting Demurrer to

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'First Arnended Complaint by Defendants Mark Alderdice, M.D. and Robert Buscho, M.D. is

attached hereto as Exhibit 17. A copy of the Compendium of Non-Calif`ornia Authorities in
Support of Demurrer by Defendant California Emergency Physicians Me_dical Group and
Demurrer by Robert Buscho and Mark Alderice to Plaintiff`s First Amended Complaint is
attached hereto as Exhibit 18. A copy of the Proof of Service is attached hereto as Exhibit 19.

11. On September 18, 2008, Defendants filed their Case Managernent Staternent, a
copy of which is attached as inhibit 20. l '

12. On September 19, 2008, Plaintiff filed his Case Managernent Statement, a copy
of which is attached as Exhibit 21.

13. On September 26, 2008, Plaintiff filed his opposition to Defendants' Demurrer.
A copy of Plaintiff‘s Opposition to Demurrer by California Emergency Physicians Medical
Group is attached hereto as Exhibit 22. A copy of Plaintiff‘s Opposition to Demurrer by Mark
Alderdice and Robert Buscho is attached hereto as Exhibit 23.

14. On October 2, 2008, Defendants' filed their replies in support of their Demurrers
to the First Amended Complaint. A copy of the Reply Memorandum in Support of Demurrer
by Defendant Calif`omia Emergency Physicians Medical Group is attached hereto as Exhibit
24. A copy of the Repiy Memorandurn in Suppoit of Demurrer by Defendants Mark Alderdice,
M.D. and Robert Buscho, M.D. is attached hereto as Exhibit 25.

15. On October 3, 2008, a Case Management _Conference was held with fudge

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NOTICE OF REMOVAL OF CIVIL ACTION TO TI'{E UNITED STATES DISTRICT COURT
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Dombrink. A copy of the Minutes is attached hereto as Exhibit 26. A copy of the Case
Management Order is attached hereto as Exhibit 27.

16. On October 9, 2008, Defendants' Demurrers to the First Amended Complaint
were heard by Judge Dombrink. A copy of the Minutes as to Defendant CEP's Demurrer is
attached hereto as Exhibit 28. A copy of the Order sustaining Defendant CEP's Demurrer is
attached hereto as Exhibit 29. A copy of the Minutes as to Defendants Aiderdice and Buscho’s
Demurrer is attached hereto as Exhibit 30. A copy of the Order sustaining Defendants
Alderdice and Buscho's Demurrer is attached hereto as Exhibit 31.

17. On October 14, 2008, mail to Plaintiff's counsel of record, Mitchell Green, from
the court containing the case management order Was returned, a copy of which is attached
hereto as Exhibit 32.

18. On October 20, 2008, Plaintiff filed the Second Amended Complaint, a copy of
Which is attached hereto as Exhibit 33.

19. On October 24, 2008, mail to Plaintiff’s counsel of record, Mitchell Green, from
the court containing the order was returned, a copy of which is attached hereto as Exhibit 34.-

20. On -November 3, 2008, Defendants' Answer to Second Amended Complaint was
filed, a copy of which is attached hereto as Exhibit 35.

21. On January 14, 2009, Defendants filed their Case Managernent Staternent, a
copy of which is attached hereto as Exhibit 36.

22. On January 20, 2009, Plaintiff filed his Case Management Statement, a copy of
which is attached hereto as Exhibit 37.

23. On January 29, 2009, a Case Management Conference was held with Judge
Dombrink. A copy of the Minutes is attached hereto as Exhibit 38. A copy of the Case
Management Order is attached hereto as Exhibit 39.

24. On Februal‘y 6, 2009, mail to Plaintiff's counsel of record, Mitchell Green, from
the court containing the case management order was returned, a copy of which is attached
hereto as Exhibit 40.

25. On April 16, 2009, the parties submitted their Stipulation re: Protective Order to

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NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED S'I`ATES DISTRICT COURT .
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the court. A copy of the Stipulation re: Protective Order is attached hereto as Exhibit 41. A
copy of the [Proposed] Order re: Stipulated Protective Order is attached hereto as Exhibit 42.

26. On April 20, 2009, Judge Dombrink granted the parties' Protective Order. A 1
copy of the court's order granting the Protective Order is attached hereto as Exhibit 43. A copy
of the parties Order Re: Stipulated Protective Order signed by Judge Dombrink is attached
hereto as Exhibit 44.

27. On April 22, 2009, Plaintiff filed his Case Management Statemcnt, a copy of
which is attached hereto as Exhibit 45.

28. On April 24, 2009, Defendants filed a Notice of Entry of Order Re: Stipulated
Protective Order, a copy of which is attached hereto as Exhibit 46.

29. On April 28, 2009, a Case Management Conference was held with Judge
Dombrink. A copy of the Minutes is attached hereto as Exhibit 47. A copy of the Case
Management Order - Order re: Case Management and Trial Setting Order with Notice of Trial
is attached hereto as Exhibit 48.

30. On May 8, 2009, mail to Plaintiff's counsel of record, Mitchell Green, from the
court was returned, a copy of which is attached hereto as Exhibit 49.

31. On July 30, 2009, Defendants filed their Case Management Statement, a copy of
which is attached hereto as Exhibit 50.

32. On August 10, 2009, Plaintiff filed their Case Management Statement, a copy of
which is aciachcd harcic as Exhibii 51.

33. On August 14, 2009, a Case Management Conference was held with Judge
Dombrink. A copy of the Minutes is attached hereto as Exhibit 52.

34. On August 28, 2009, mail to Plaintiff's counsel of record, Mitchell Green, from
the court was returned, a copy of which is attached hereto as Exhibit 53.

35. On September 25, 2009, Defendants filed their Motions for Summary Judgment
or, in the Alternative, Summary Adjudication. A copy of the Notice of Motion and Motion by
Defendant Ca|ifornia Emergency Physicians Medical Group for Surnmary Judgment or, in the

Alternative, for Surnmary Adjudication of Issues is attached hereto as Exhibit 54. A copy of

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NOTICE OF REMOVAL OF CIVIL ACTION TO T[-IE UNITED STATES DISTRICT COURT
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the Memorandurn of Points and Authorities in Support of Defendant Califomia Ernergency
Physicians Medical Group for Surnmary Judgment or, in the Alternative, for Summary
Adjudication of Issues is attached hereto as Exhibit 55. A copy of the Separate Statement of
Undisputed Material'Facts in Support of Defendant California Ernergency Physicians Medical
Group's Motion for Summary Judgment or, in the Alternative, for Surnmary Adjudication of
Issues is attached hereto as Exhibit 56. A copy of the Notice of Motion and Motion by
Defendants Mark Alderice, M.D. and Robert Buscho, M.D. for Sumrnary Judgment or, in the
Alternative, for Sumrnary Adjudication of Issues is attached hereto as Exhibit 57. A copy of
the Memorandum of Points and Authorities in Support of Defendants Mark Alderice, M.D. and
Robert Buscho, M.D. for Summary Judgment or, in the Altemative, for Summary Adjudication
of Issues is attached hereto as Exhibit 58. A copy of the Separate Statement of Undisputed
Material Facts in Support of Motion by Defendants Mark Aiderice, M.D. and Robert Buscho,
M.D. for Summary Judgment or, in the Alternative, for Summary Adjudication of Issues is
attached hereto as Exhibit 59. A copy of the Evidence in Support of Motions by All
Defendants for Summary Judgment, or, in the Alternative, for Summary Adjudication of Issues
is attached hereto as Exhibit 60. A copy of the Compendium of Non-California Authorities in
Support of Motions by All Defendants for Summary Judgment or, in the Alternative, for
Sumrnary Adjudication of Issues is attached hereto as Exhibit 61. A copy of the Proof of
Serviee Via Hand Delivery is attached hereto as Exhibit 62.

36. On October 30, 2009, Plaintiff filed the Proof of Service of his Demand for
Exchange of Expert Witness lnfonnation, a copy of which is attached hereto as Exhibit 63.

37. On November 24, 2009, Plaintiff filed his opposition to Defendants' Motions f`or
Surnmary Judgment or, in the Alternative, Sumrnary Adjudication. A copy of Plaintiff'S
Opposition to Motion for Summary Adjudication/Judgrnent by Defendant CEP is attached
hereto as Exhibit 64. A copy of Plaintiff‘s Separate Statement of Undisputed Material Facts in
Opposition to Defendant 'CEP's Motion for Summary Judgment/Sumrnary Adjudication is
attached hereto as Exhibit 65. A copy of Plaintiff's Statement of Additional Disputed Facts in

Opposition to Defendant CEP's Motion for Surnmary Judgment/Surnmary Adj udication is

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NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STA'I'ES DISTRICT COURT
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attached hereto as Exhibit 66. A copy of Plaintif`f‘s Opposition to Motion for Summary
Adjudication/Judgment by Defendants Alderdice and Buscho is attached hereto as Exhibit 67.
A copy of Plaintiff's Separate Statement of Undisputed Material Facts in Opposition to
Defendants Alderdice/ Buscho's Motion for Summary Judgment/Summary Adjudication is
attached hereto as Exhibit 68. A copy of Plaintiff`s Statement of Additional Disputed Facts in
Opposition to Defendants AlderdicefBuscho's Motion for Summary Judgment/Summary
Adjudication is attached hereto as Exhibit 69. A copy of the Evidence in Opposition to
Motions by All Defendants for Summary Judgment/Summary Adj udication is attached hereto
as Exhibit 70. A copy of the Proof of Service is attached hereto as Exhibit 71.

38. On November 30, 2009, the action was reassigned to Judge Gail Brewster
Bereola by Yolanda Northridge, Presiding Judge, Superior Court of Califomia, County of
Alar_neda. A copy of the Notice of Reassignment of Judge for All Purposes is attached hereto
as Exhibit 72.

39. On Decernber 4, 2009, Defendants filed their Replies in Support of their
Motions for Summary Judgment or, in the Altemative, Summary Adjudication. A copy of the
Reply Memorandum in Support of Defendant Califomia Ernergency Physicians Medical
Group's Motion for Summary Judgment or, in the Alternative, Summary Adjudication of Issues
is attached hereto as Exhibit 73. A copy of Defendant Califomia Emergency Physicians
Medical Group's Response to Plaintiff's Opposition to Separate Statement of Undisputed
Material Facts Regarding its'Motion for Summary Judgment or, in the Alternative, for
Summary Adjudication of Issues is attached hereto as E`.xhibit 74. A copy of Defendant
Califomia Emergency Physicians Medical Group's Reply to Plaintiff's Separate Statement of
Additional Disputed Facts in Opposition to Defendant CEP's Motion by For Summary
Judgment or, in the Alternative, Summary Adjudication of Issues is attached hereto as Exhibit
75. A copy of the [Proposed] Order Granting Defendant Califomia Ernergency Physicians
Medical Group's Motion for Summary Jiidgrnent or, in the Alternative, for Summary
Adjudication o'f Issues is attached hereto as Exhibit 76. A copy of the Reply Memorandum in

Support of Motion for Summary Judgment or, in the Alternative, Summary Adjudication of

7.
NOTICE OF REMOVAL OF CIV[L ACTION TO TI-[E UNITED STATES DISTRICT COURT
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Issues by Defendants Mark Alderdice and Robert Buscho is attached hereto as Exhibit 77. A
copy of Defendants Mark Alderdice and Robert Buscho's Response to Plaintif`f's Opposition to
Separate Statement of Undisputed Material Facts Regarding Their Motion for Summary
Judgment or, in the Alternative, for Summary Adjudication is attached hereto as Exhibit 78. A
copy of Defendants Mark Alderdice and Robert Buscho's Reply to Plaintiff's Staternent of
Additional Disputed Facts in Opposition to Defendant Alderdice/Buscho's Motion by For
Summary Judgment or, in the Alternative, Summary Adj udication of Issues is attached hereto
as Exhibit 79. A copy of the [Proposed] Order Granting Defendants Mark Alderdice, M.D. and
Robert Buscho, M.D.'s Motion for Summary Judgment or, in the Alternative, for Summary
Adjudication of Issues is attached hereto as Exhibit 80. A copy of Defendants' Objections to
Evidence is attached hereto as Exhibit 81. A copy of the [Proposed] Order Granting
Defendants' Objections to Evidence is attached hereto as Exhibit 82. A copy of the Request for
J udicial Notice in Support of (A) Defendant Califomia Emergency Physicians Medical Group's
Motion for Summary Judgment or, in the Altemative, for Summary Adjudication of Issues and
(B) Motion for Summary Judgment or, in the Alternative, for Summary Adjudication of Issues
by Defendants Mark Alderdice, M.D. and Robert Buscho, M.D. is attached hereto as Exhibit
83. A copy of the Supplemental Compendium of Non-California Authorities in Support of v
Motions by All Defendants for Summary Judgment or, in the Alternative, for Summary
Adjudication of Issues is attached hereto as Exhibit 84. A copy of the Proof of Service is
attached hereto as Exhibit 85.

4(). On Decernber 4, 2009, Defendants filed an Ex Parte Application for an Order to
Shorten Time on their Motion to Compel Plaintiff's Mental Examination. A copy of
Defendants' Notice of Ex Parte Application and Ex Parte Application for Order Shortening
Time on Motion to Compel Plaintiff`s Mental Exarnination is attached hereto as Exhibit 86. A
copy of the Declaration of Sarah E. Robertson in Support of Defendants' Ex Parte Application
for Order Shortening Time on Motion to Compel Plaintiff's Mental Examination is attached
hereto as Exhibit 87. A copy of the [Proposed] Order Shortening Time on Defendants' Motion

to Compel Plaintiff`s Mental Examination is attached hereto as Exhibit 88. A copy of the Proof

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NOTICE OF REMOVAI. OF CIVIL ACTION TO THE UNITED S'I`ATES DISTRICT COURT
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of Service is attached hereto as Exhibit 89.

41. 011 December 7‘, 2009, Plaintiff filed an opposition to Defendants' ex parte
application A copy of Plaintiff`s Opposition to Defendants' Application for an Order
Shortening Time is attached hereto as Exhibit 90. ‘

42. On December 8, 2009, Plaintiff filed the Proof of Service of Plaintiff's
Opposition to Defendants' Application for an Order Shortening Time, a copy of which is
attached hereto as Exhibit 91.

43. On December 8, 2009, J ridge Dombrink denied Defendants' Application for an
Order Shortening Time. A copy of the Application re: Order Shortening Time Denied is
attached hereto as Exhibit 92.

44. On December 9, 2009, the parties were again served with notice that the action
was reassigned to Judge Gail Brewster Bereola by Yolanda Northridge, Presiding Judge,
Superior Court of Califomia, County of Alameda. A copy of the additional Notice of
Reassignment of Judge for All Purposes is attached hereto as Exhibit 93.

45. On December 10, 2009, Defendants' Motions for Summary Judgment or, in the
Alternative, Summary Adjudication were heard by Judge Dombrink. A copy of the Minutes as
to Defendant CEP's Motion for Summary Judgment or, in the Alternative, Summary
Adjudication is attached hereto as E)thibit 94. A copy of the Minutes as to Defendants
Alderdice and Buscho's Motion for Summary Judgment or, in the Alternative, Summary
Adjudication is attached hereto as Exhibit 95.

46. On December 11, 2009, Judge Dombrink issued his order regarding Defendants'
Motions for Summary Judgment or, in the Alternative, Summary Adjudication. A copy of the
Order denying Defendant CEP's Motion for Summary Judgment or, in the Altemative,
Summary Adjudication is attached hereto as Exhibit 96. A copy of the Order denying
Defendants Alderdice and Buscho's Motion for Summary Judgment or, in the Alternative,
Summary Adjudication is attached hereto as Exhibit 97.

47. On December 21, 2009, Plaintiff filed an Ex Parte Application for an Order to

Shorten Time to hear Motion for Leave to Amend Complaint. A copy of Plaintiff's Ex Parte

9.
NOTICE OF REMOVAL OF CIVIL ACTION TO TI-IE UNITED STATES DISTRICT COURT
1123/10 (25615) #356430.1

 

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Application for Order Shortening Time to Hear Motion for Leave to Amend Complaint is
attached hereto as Exhibit 98. A copy of the [Proposed] Order Granting Motion to Shorten
Time is attached hereto as Exhibit 99. A copy of the Proof of Service is attached hereto as
Exhibit 100.

48. On December 22, 2009, Plaintiff filed the Proof of Service of Ex Parte
Application to Shorten Time, Proposed Order, Proof of Service, a copy of which is attached
hereto as Exhibit 101.

49. On December 22, 2009, the parties submitted the Stipulated Order Granting
Leave to File Third Amended Complaint, a copy of which is attached hereto as Exhibit 102.

50. On January 4, 2010, Plaintiff filed the Notice to Clerk of Incorrect Attorney
Address and Telephone Number, a copy of which is attached hereto as Exhibit 103.

51. On January 15, 2010', the action was called for jury trial before Judge Bereola.
A copy of the Minutes is attached hereto as Exhibit 104.

52. On January 15, 2010, at the jury trial call, Plaintiff"s counsel resubmitted the
Stipulated Order Granting Leave to File Third Amended Complaint. The version of the
stipulation and order presented to the Court was not, however, the fully executed version as

previously submitted to the court on December 22, 2009 (see Exhibit 101). A copy of the

' January 15, 2010 version of the Stipulated Order Granting Leave to File Third Amended

complaint is attached hereto ss Exhihit`ios.

53. On January 15, 2010, the court granted the Stipulated Order Granting Leave to
File Third Amended Complaint, a copy of which is attached hereto as Exhibit 106.

54. On January 15, 2010, Plaintiff filed his Third Amended Complaint, a copy of`
which is attached hereto as Exhibit 107. The Third Amended Complaint, for the first time,
included a cause of action arising under federal law, in that the Third Amended Complaint
added a claim for violation of 42 U.S.C. section 1981.

55. On January 15, 2010, Defendants filed their answer to the Third Amended
Complaint. A copy of the Answer to Third Amended Compliant by Defendants Califomia

Emergency Physicians Medical Group, Mark Alderdice, M.D., and Robert Buscho, M.D. is

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NOTICE OF REMOVAL OF CIVlL ACTION TO TI-IE UNITED STATES DISTRICT COURT
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attached hereto as Exhibit 108.

56. On January 18, 2010, the court issued an order granting the parties' stipulation
regarding amending the complaint on the condition the stipulation be amended to include the
signature of Sarah Robertson, counsel of record for Defendants. A copy of the Order granting
the amendment, subject to this condition, is attached hereto as Exhibit 109.

57. On January 19, 2010, Jennifer Brooks, Sarah Robertson's paralegal, sent an
email to Judge Bereola's department clerk advising that a fully executed copy the parties'
Stipulated Order Granting Leave to File Third Amended Complaint had been sent to the court
on December 22, 2009 and attached a copy of the stipulation Ms. Brooks further attached a
copy of the order signed by Judge Bereola, which contained Sarah Robertson and Mitchell
Green's signatures A copy of Ms. Brooks' January 19, 2010 email is attached hereto as Exhibit
1 10.

58. On January 26, 2010, the court's clerk, Elizabeth Erickson, advised the parties
that the January 15, 2010 order that was signed and filed was sufficient and nothing further
needed to be issued. A copy of Ms. Erickson's January 26, 2010 email is attached hereto as
Exhibit 1 11.

59. Defendants have timely filed this notice "within 30 days after the receipt [of the
complaint], through service or otherwise“ (28 USC §1446(b)). The undersigned counsel for
Defendants Was personally served with Third Amended Complaint on January 15, 2010.

60. Pursuant to subsection (d) of Califomia Code of` Civil Procedure section 431.30,
Defendants filed their Answer and general denial to Plaintiff's unverified Third Amended
Complaint on January 15, 2010.

61. This action is a civil action over which this Court has original jurisdiction under
28 U.S.C. §1331, and is one that may be removed to this Court by Defendant pursuant to the
provisions of 28 U.S.C. §1441(b) in that it is a civil action "founded on a claim or right arising
under the . . . laws of the United States."

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11.

NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT
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62. In the state court action, Defendant MedAmerica was never served with the

Summons and Complaint and therefore does not join in this Notice of` Removal.

Deteti: lanham 2_3, 2010 FITZGERALD ABBoTT & BEARDSLEY LLP

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Sa`r’ah E. Robertson

Attorneys for Defendants

CALIFORNIA EMERGENCY

Pl-IYSICIANS MEDICAL GROUP,

MARK ALDERDICE and ROBERT BUSCHO

12.

NOTICE OF REMOVAL OF CIV[L ACTION TO THE UNITED STATES DISTRICT COURT

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